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13                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
14

15   WULFCO A LIMITED LIABILITY                 Case No.: 2:24-cv-00223-RFB-DJA
     COMPANY, a Nevada limited liability
16   company,
                     Plaintiff,
17                                                 STIPULATED DISCOVERY PLAN
     v.                                              AND SCHEDULING ORDER
18

19   NYE COUNTY, a political subdivision of             (SPECIAL SCHEDULING
     the State of Nevada,                                REVIEW REQUESTED)
20                        Defendant.
21

22          Plaintiff WULFCO A LIMITED LIABILITY COMPANY (“Plaintiff”) and Defendant
23   NYE COUNTY (“Defendant” and with Plaintiff referred to herein as the “Parties”), by and
24   through undersigned counsel, hereby submit their Stipulated Discovery Plan and Scheduling
25   Order (the “Scheduling Order”) pursuant to Federal Rule of Civil Procedure 26(f) and Local
26   Rule 26-1(b).
27   ///
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 1           1.       Fed. R. Civ. P. 26(a) Initial Disclosures:

 2           Pursuant to Federal Rule of Civil Procedure 26(f), on September 16, 2024, Brenoch

 3   Wirthlin, Esq. counsel for Plaintiff, and Brian Kunzi, Esq., counsel Defendant, conducted a

 4   meeting to discuss the relevant issues for discovery, possible early resolution of the matter, and

 5   other pertinent issues. Pursuant to these discussions, the parties agree that they will submit their

 6   initial disclosures on or before Monday, September 30, 2024.

 7           2.       Discovery Cut-Off Date:

 8           Discovery will take not more than one hundred eighty (180) days from September 16,

 9   2025.1 Accordingly, all discovery must be completed no later than Tuesday, March 17, 2025.

10           3.       Amending the Pleadings and Adding Parties:

11           The date for filing motions to amend the pleadings or to add parties shall not be later than

12   ninety (90) days prior to the discovery cut-off date and, therefore, not later than Wednesday,

13   December 4, 2024.

14           4.       Fed. R. Civ. P. 26(a)(2) Disclosures (Experts):

15           In accordance with Rule 26(a)(2), initial disclosures identifying experts shall be made

16   sixty (60) days prior to the discovery cut-off date, and therefore, not later than Thursday,

17   January 16, 2025, and disclosures identifying rebuttal experts shall be made thirty (30) days

18   after the initial disclosure of experts and, therefore, not later than Monday, February 17, 2025.

19           5.       Dispositive Motions:

20           The parties shall file dispositive motions not more than (30) days after the discovery cut-

21   off date and, therefore, not later than Wednesday, April 16, 2025.

22           6.       Pretrial Order:

23           If no dispositive motions are filed, and unless otherwise ordered by this Court, the Joint

24   Pretrial Order shall be filed not more than thirty (30) days after the date set for filing dispositive

25   motions and, therefore, not later than Friday, May 16, 2025.

26   1
       The parties acknowledge that Defendant filed a motion to dismiss on May 20, 2024. LR 26-1(b)(1)’s 180-day
27   presumptive discovery period would thus have normally ended on Monday, November 16, 2024. However, due to
     the pendency of Defendant’s current Motion to Dismiss, Defendant is stipulating to the 180-day discovery period
28   running from September 16, 2024, as stated in this report.


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 1           7.     Fed. R. Civ. P. 26(a)(3) Disclosures:

 2           If no dispositive motions are filed, and unless otherwise ordered by this Court, the parties

 3   shall file the disclosures required by Fed. R. Civ. P. 26(a)(3) and any objections thereto with the

 4   Pretrial Order pursuant to LR 26-1(e)(6) in the Joint Pretrial Order, not more than thirty (30)

 5   days after the date set for filing dispositive motions and, therefore, not later than Friday, May 16,

 6   2025.

 7           8.     Alternative Dispute Resolution:

 8           The parties certify they have met and conferred about the possibility of using alternative

 9   dispute-resolution processes including mediation, arbitration and early neutral evaluation.

10           9.     Alternative Forms of Case Disposition:

11           The parties certify they considered consent to trial by a magistrate judge under 28 U.S.C.

12   § 636(c) and Fed.R.Civ.P. 73 and the use of the Short Trial Program (General Order 2013-01).

13           10.    Electronic Evidence:

14           The parties anticipate a jury trial in this matter and certify they have discussed whether

15   they intend to present evidence in electronic format to jurors for the purposes of jury

16   deliberations. Discussions between the parties will be ongoing as the trial date approaches and

17   any electronic evidence will be presented in a format compatible with the Court’s electronic jury

18   evidence display system.

19           11.    Extensions or Modifications of the Discovery Plan and Scheduling Order:

20           In accordance with Local Rule 26-3, a stipulation or motion for modification or extension

21   of this discovery plan and scheduling order must be made no later than twenty-one (21) days

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 1   before the expiration of the subject deadline.

 2          Respectfully submitted this 26th day of September 2024.

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 4    HUTCHISON & STEFFEN                                BRIAN T. KUNZI
                                                         NYE COUNTY DISTRICT ATTORNEY
 5

 6
      /s/ Brenoch Wirthlin _________________             _/s/Brian Kunzi_____________________
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 9
      Attorneys for Plaintiff                            Attorneys for Defendant
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11

12

13                                                ORDER

14
            IT IS SO ORDERED:
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16

17          UNITED STATES MAGISTRATE JUDGE
18

19
            DATED:             9/30/2024
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